              Case 4:21-cv-08857-DMR Document 11 Filed 01/04/22 Page 1 of 1




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 6
                          IN THE UNITED STATES DISTRICT COURT
 7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9     SHANTA LATISE MORTON, individually                   Case No. 4:21-cv-08857-DMR
       and on behalf of all others similarly situated,
10                                                        PLAINTIFF’S VOLUNTARY
                      Plaintiff,                          DISMISSAL WITHOUT PREJUDICE
11
       v.
12

13     MORTGAGE NETWORK INC., a
       Massachusetts company,
14
                      Defendant,
15

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17          Plaintiff Shanta Latise Morton hereby gives notice of the dismissal of this action without

18   prejudice, with each party to bear its own attorneys’ fees and costs.
19                                                 Respectfully Submitted,
20
     DATED this 4th day of January, 2022.          By: /s/ Rachel E. Kaufman
21
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